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UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE

IN RE: CASE NO. 19-10956 PROCEEDINGS UNDER
CHAPTER 11
KONA MACADAMIA, INC.
(DEBTOR)
MAY 8, 2019

NOTICE OF APPEARANCE AND REQUEST FOR ALL NOTICES & PLEADINGS

 

Berdon, Young & Margolis, P.C., hereby appears on behalf of KONA MACADAMIA,

INC., and requests that pursuant to 11 U.S.C. Section 1109(b) and Bankruptcy Rules 2002(g),
(I), 2015(c), and 3017(a) that Berdon, Young & Margolis, P.C., receive copies of all notices,
reports, motions, briefs, memoranda, pleadings, proposed plans, disclosure statements, proposed
orders, confirmed copies of orders and any other documents or instruments (the “Documents”’)
filed in the above-captioned bankruptcy proceeding. All such documents should be served upon
the following:

STUART A. MARGOLIS, ESQ.

Berdon, Young & Margolis, P.C.

350 Orange Street, 2"! Floor

New Haven, CT 06511
E-mail: stuart.margolis@bymlaw.com
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PLEASE TAKE FURTHER NOTICE that pursuant to Section 1109(b) of the
Bankruptcy Code, the foregoing demand includes not only notices and papers referred to in the
Bankruptcy Rules specified herein, but also includes, without limitation, orders and notices of
any application, motion, petition, pleading, request, complaint or demand, whether formal or
informal, whether written or oral, and whether transmitted or conveyed by hand delivery, mail
delivery, telephone, telegraph, telex, telecopy, or otherwise, such affects the alleged Debtor(s) or

the property of the alleged Debtor(s).

BY

 

CSTUART A. MARGOLIS
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